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             IN TIIE UNITED STATES DISTRICT COURT FOR THE

                      WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                    )
                                             )
                    Pla inliIf.              )
                                             )
             -vs-                            )        No. CR-24-287-G
                                             )
LANDON KYLE SWINFORD,                        )
   a/k/a Landon Strohbart'                   )
   a/k/a Usama Sajid Al-Hashim,               )
   a/lVa Abu Labeeb Al-Amriki,               )
                                             )
                    Defcndant.                )

                                  PLEA AGRtrEMENT

                                      Introduction

       1.    This Plea Agreement, in conjunction with a Plea Supplement filed

contemporaneously under seal, contains the entire agreement between Defendant Landon

Kyle Swinford, and the United States conceming Defendant's plea of guilty in this case.

No other agreement or promise exists, nor may any additional agreement be entered into

unless in writing and signed by all parties. Any unilateral modification of this Plea

Agreement is hereby rejected by the United States. This Plea Agreement applies only to

the criminal violations described and does not apply to any civil matter or any civil

forfeiture proceeding except as specifically set forth. This Plea Agreement binds only the

United States Attomey,s Office for the westem District of oktahoma and does not bind

any other federal, state, or local prosecuting, administrative, or regulatory authority' If

Defendant does not accept the terms ofthis Plea Agreement by octob et 25,2024, the offer
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               Maxi um Pena         . Restitu tion. and Spe cial Assess m ent


      3'Themaximumpenaltiesthatcouldbeimposedasaresultofthispleaare:

              a.     Count Two: No more than (20) years of imprisonment or a fine of

$250,000.00, or both such frne and imprisonment, as well as a
                                                                         mandatory special

                                                                        a term of supervised
assessment of $100.00, additional assessments up to $22,000'00, and

release ofnot less than five (5) years nor more tian life; and

              b.     Count Three: No more than 5 years imprisonment or a fine of

$250,000.00, or both such fine and imprisonment, as well as a mandatory
                                                                                      special


assessment of $100.00, and a term of supervised release ofnot more
                                                                       than three (3) years'


       4.     In addition to the punishment described above, a plea of guilty can affect

immigration status. If Defendant is not a citizen of the United States, a guilty
                                                                                   plea may


result in deportation and removal from the united states, may prevent Defendant
                                                                                   from ever


law{ully reentering or remaining in the United States, and may result in the denial
                                                                                              of

naturalization. Further, if Defendant is not a citizen of the united States, Defendant

knowingly and voluntarily waives any right, pursuant to 18 U S'C' $ 4i00'
                                                                                   et seq to
                                                                                          '
request to transfer service of any sentence of imprisonment or
                                                                  part thereof to Defendant's

                                                                    States, a guilty plea may
home country. If Defendant is a naturalized citizen of the United

result in denaturalization.

        5.     In addition, the court must order the payment of festitution to any victim(s)
                                                                        parties agree that' as
 ofthe offense' Pursuant to 18 U.S.C' $$ 3663(a)(3) and 36634' the

 part of the sentence resulting from Defendant's plea' the Court
                                                                      will enter an order of


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is withdrawn.

                                        Guiltv Plea

      2.        Defendant agrees to enter a plea of guilty to Count Two in Case Number CR-

24-287 -G, charghg Possession of Child Pomography in violation of Title 18,
                                                                               United States


code, section 2252A(a)(5)@). To be found guilty of violating Title 18 united states

Code,$2252A(aX5XB),aschargedinthelndictment,defendantmustadmit,anddoes

admit, that between on or about Apil 22,2023, and on or about April24,2023, in the

westem District of oklahoma: (1) the defendant knowingly possessed material containing

child pomography; (2) the child pomography included images of prepubescent children;

and (3) the child pomography was transported using any means or facility of interstate
                                                                                          or

foreigr commerce, including by computer and via the lntemet'

       Defendant also agrees to enter a plea of guilty to count Thlee in case Number cR-

24-287 -G charghg communicating a threat, in violation of Title 18, United
                                                                                States Code,


Section 875(c). To be found guilty of violating Title 18, united States code, Section

                                                                                  that on or
875(c), as charged in the Indictment, defendant must admit, and does admit,

about october 3, 2023, in the westem District of oklahoma:
                                                               (1) the defendant knowingly

                                                                                      (2) the
transmitted a communication containing a tfueat to injure the person of another;

defendanttransmittedt}tecommunicationwiththeintenttomakeathreat'orwith
                                                                       (3) the communication
knowledge that the communication would be viewed as a threat; and

 was transmitted in interstate and foreign commerce'




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restitution to all victims ofDefendant's relevant conduct as determined by reference to the

United States Sentencing Guidelines (the "Guidelines").

       6.     Defendant agrees to pay any special assessment(s) to the Office ofthe Court

Clerk immediately following sentencing. Defendant understands that any fine or

restitution ordered by the Court is immediately due unless the Court provides for payment

on a date ceftain or in installments. If the Court imposes a schedule for payment of

restitution, Defendant agrees that such a schedule represents a minimum payment

obligation and does not preclude the United States Attomey's Office from pwsuing other

means by which to satisff Defendant's full and immediately enforceable financial

obligations. Defendant accepts a continuing obligation to pay in full, as soon as possible,

any financial obligation imposed by the Court. Defendant further understands that a failure

to abide by the terms of any restitution schedule imposed by the Court may result in further

action by the Court.

       7.     For certain statutory offenses, the Court must also impose a term of

supervised release, which Defendant will begin to serve after being released from custody.

For all other offenses, the Court may impose a term of supervised release to be served

following release irom custody. During the term of supervised relsase, Defendant will be

subject to conditions that will include prohibitions against violating local, state, or federal

law, reporting requirements, restrictions on travel and residence, and possible testing for

controlled substance use. If Defendant violates the conditions of supervised release, the

Court may revoke Defendant's supervised release and sentence Defendant to an additional



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term of imprisonment. This additional term of imprisonment would be served without

credit for the time Defendant successfully spent on supervised release. When combined,

the original term of imprisonment and any subsequent term of imprisonment the Court

imposes may exceed the statutory maximum prison term allowable for the offense.

                                  Financial Discl$urc!

       8.     Defendant agrees to disclose all assets in which Defendant has any interest

or over which Defendant exercises control, directly or indirectly, including those held by a

spouse, nominee, or any other third party. Upon request by the United States, Defendant

agrees (l) to complet'e truthfully and sign under penalty of perjury a Financial Statement

ofDebtor by the change-of-plea hearing, or a date otherwise agreed to by the United States,

and (2) to provide updates with any material changes in ctcumstances, as described in 18

U.S.C. $ 3664(k), within seven days of the event giving rise to such changes. Defendant

understands that the United States will take Defendant's compliance with these requests

into account when it makes a recommehdation to the Court regarding Defendant's

acceptance of responsibility.

       9.     Defendant also expressly authorizes the United States Attorney's Office to

obtain a credit report on Defendant, in order to evaluate Defendant's ability to satisry any

financial obligations imposed by the Court. Finally, Defendant agrees to notiry the

Financiat Litigation Program C'FLP) of the United States Attomey's Offrce and to obtain

permission from FLP before Defendant transfers any interest in property with a value

exceeding $i,000.00, owned directly, indirectly, individually, or jointly by Defendant,



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including any interest held or owned under any name, including trusts, partnerships, or

corporations. Defendant acknowledges a continuing obligation to notiry and obtain

permission from FLP for any transfers of the above-described property until full

satisfaction of any restitution, fine, special assessment, or other financial obligations

imposed by the Court.

                                  Sentencinq Guidelineg

       10. The parties acknowledge that 18 U.S.C. $ 3553(a) directs the Court to
consider certain factors in imposing sentence, including the Guidelines promulgated by the

United States Sentencing Commission. Consequently, although the parties recognize that

the Guidelines are only advisory, they have entered into certain stipulations and agreements

with respect to the Guidelines. Based upon the information known to the parties on the

date that this Plea Agreement is executed, they expect to take, but are not limited to, the

following positions at sentencing:

              a.     The parties a$ee Defendant should receive a two-level downward

adjustment for Defendant's acceptance of responsibility, pursuant to U.S.S.G. $ 381.1(a),

if Defendant commits no further crimes, does not falsely deny or frivolously contest
relevant conduct, and fu1ly complies with all other terms of this Plea Agreement. Further,

if the Court applies that two-level downward adjustment, the United States will move for

an additional one-level downward adjustment under U.S.S.G. S 3E1.1(b) if it determines

that Defendant qualifies for the additional adjustment based on the timeliness of

Defendant's acceptance of this Plea Agteement and other appropriate considerations in



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U.S.S.G. $ 3El.l and its application notes.

       Apart from any expressed agreements and stipulations, the parties reserve the right

to advocate for, and present evidence relevant to, other Guidelines adjustments and

sentencing factors for consideration by the United States Probation Office and the Court.

       11. The parties have entered into this Plea Agreement under the provisions of
Federal Rules of Criminal Procedure 1l(cXlXe) and 1l(c)(l)(B)' Defendant

acknowledges and understands that the court is not borurd by, nor obligated to accept, these

stipulations, agreements, or recommendations of the United States or Defendant. And,

even if the court rejects one or more of these stipulations, agreements, or
                                                                                            plea
recommendations, that fact alone would not allow Defendant to withdraw Defendant's

of guilty. Upon Defendant,s signing of this Plea Agreement, the United States intends to

end its investigation ofthe allegations in the Indictment, as to Defendant, except
                                                                                       insofar as

                                                                                   to sentencing,
required to prepare for further hearings in this case, including but not limited

and to prosecute others, if any, involved in Defendant's conduct. The United
                                                                                    States agrees

                                                                                               or
to end any investigation directed specifically at the foregoing stipulations, agreements,

recommendations as to Defendant. However, subject to the terms and
                                                                             conditions of this

PleaAgreementandPleaSupplement,theUnitedStatesexpresslyreservestherighttotake
                                                                                               in
positions that deviate from the foregoing stipulations, agreements' or recommendations

                                                                          is discovered during
the event that material credible evidence requiring such a deviation
                                                                                   or arises from
the course of its investigation after the sigrring of this Plea Agreement

 sourcesindependentoftheUnitedStates,includingtheUnitedStatesProbationoffrce.



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             Waiver of Ri sht to Aoneal and B rins Collateral Challen ge

       12. Defendant understands that the court will consider the factors set forth in 18
U.S.C. $ 3553(a) in determining Defendant's sentence. Defendant also understands that

the court has jurisdiction and authority to impose any sentence within the statutory

maximum for the offense(s) to which Defendant is pleading guilty. Defendant further

understands that 28 U.S.C. $ 1291 and l8 U.S.C, $ 3742 give Defendant the right to
                                                                                     appeal


the judgment and sentence imposed by the court. Acknowledging all of this, and in

exchange for the promises and concessions made by the United States in this Plea

Agreement, Defendant knowingly and voluntarily waives the following righs:

              a.     Defendant waives the right to appeal Defendant's guilty plea, and any

other aspect of Defendant,s conviction, including but not limited to any rulings on pretrial

suppression motions or any other pretrial dispositions of motions and issues;

              b.     Except as stated immediately below, Defendant waives the right to

appealDefendant,ssentence,includinganyrestitution,andthemarrnerinwhichthe
                                                                          sentence is above
sentence is determined, including its procedural reasonableness. If the

theadvisoryGuidelinesrangedeterminedbytheCourttoapplytoDefendant'scase,this

waiver does not include Defendant's right to appeai the substantive reasonableness
                                                                                          of

Defendant's sentence;

              c.     Defendant waives the right to appeal or collaterally challenge the

lengthandconditionsofsupervisedrelease,aswellasanysentenceimposedupona

revocation of Defendant's supervised release;



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              d.     Defendant waives the right to collaterally ohallenge or move to

modify (under 28 U.S.C. $ 2255, 18 U.S.C. $ 3582(c)(2), or any other ground) Defendant's

conviction or sentence, including any restitution, except with respect to claims of

ineffective assistance of counsel. This waiver does not include Defendant's ability to file

a motion for compassionate release under 18 U.S.C. S 3582(cXtXe)G). Defendant,

however, waives the right to appeal the denial of any motion filed under 18 U.S.C.

$ 3582(c)(1)(AXi) where such denial rests in any part upon the Court's determination that

a sentence reduction is not waranted under factors set forth in l8 U'S.C. $ 3553(a)'


       Defendant acknowledges that these waivers remain in full effect and are

enforceable, even if the Court rejects one or more of the positions ofthe United States or

Defendant set forth in paragraph 10.

       13. Except as stated immediately below, the United States agrees to waive its
right under 18 U.S.C. $ 3742 to appeal the sentence imposed by the Court and the manner

in which the sentence was determined. If the sentence is below the advisory Guidelines

range determined by the Court to apply in this case, this waiver does not include the right

of the United States to appeal the substantive reasonableness ofDefendant's sentence.

                                       of Further Discove

       14. Defendant understands, agrees, and has had explained to him by counsel that
by entering this plea agroement he is giving up the right to chailenge the govemment's

decision to withhold production of classified information and to receive further pretrial

discovery from the governrnent except as necessary to prepare for sentencing proceedings.




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The govemment has provided, and will continue to provide, any information known to the

govemment establishing the factual innocence of defendant.

                        Waiver of FOIA and Privacv Act Riehts

       15. Defendant waives all rights, whether asserted directly or by a representative,
to request or receive from any department or agency of the United States any records

pertaining to the investigation or prosecution of this case, including but not limited to

records that Defendant may seek under the Freedom of Information Act, 5 U.S.C. $ 552,

or the Privacy Act of 1974, 5 U.S.C. $ 522a.

                                Obliqations of Defendant

       16. Defendant shall commit no further crimes. Should Defendant commit any
further crimes, knowingly give false, incomplete, or misleading testimony or information,

or otherwise violate any provision of this Plea Agreement, the United States will be

released from any obligations, agreements, or restrictions imposed on it under this Plea

Agreement, and the United States may prosecute Defendant for any and all ofDefendant's

federal criminal violations, including perjury and obstruction ofjustice. Any prosecution

within the scope of this investigation that is not time-barred by the applicable statute of

limitations on the date of the signing of this Plea Agreement may be brought against

Defendant, notwithstanding the expiration ofthe statute of limitations between the signing

of this Plea Agrcement and the commencement of that prosecution. Defendant hereby

waives all defenses based on the statute of limitations with respect to any prosecution that

is not time-barred on the date that this Plea Agreement is signed.




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       17. The parties also recognize that if the Court determines that Defendant has
violated any provision of this Plea Agreement or authorizes Defendant to withdraw from

Defendant's knowing and voluntary guilty plea entered pursuant to this Plea Agreement:

(a) all written or oral statements made by Defendant to the Court or to federal or other

designated law enforcement agents, any testimony given by Defendant before a grandjury

or other tribunal, whether before or after the signing ofthis Plea Agreement, and any leads

from those statements or testimony, shall be admissible evidence in any criminal

proceeding brought against Defendant; and (b) Defendant shall assert no claim under the

United States Constitution, any statute, Federal Rules of Criminal Procedure 11(d)(1) and

11(f1, Federal Rule ofEvidence 410, or any other federal rule or law that those statements

or any leads fiom those statements should be suppressed. Defendant knowingly and

volurtarily waives Defendant's rights described in this paragraph as of the time Defendant

signs this Plea Agreement.

                             Oblisations of the Uni ted States

       18. If Defendant enters a plea of guilty as described above and fully meets all
obligations under this Plea Agreement, the United States will move to dismiss at sentencing

Count One (1) of the Indictment, the United States Attomey's Office for the Westem

District of Oklahoma will not fiIther prosecute Defendant for any crimes related to

Defendant,s possession of child pomography during the period between, on or about April

22,2023, and on or about April 24,2023, and his communicating a threat in interstate

commerce on or about october 3,2023, This Plea Agreement does not provide any



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protection against prosecution for any crime not specifically described above'

       19. Defendant understands that the sentenco to be imposed upon Defendant is
within the sole discretion of the Court. The United States does not make any promise or

representation as to what sentence Defendant will receive. The United States reserves the

right to inform the United States Probation Office and the Court of the nanre and extent

of Defendant's activities with respect to this case and all other activities ofDefendant that

the United States deems relevant to sentencing.

                                        Sisnatures

       20. By signing this Plea Agreemen! Defendant acknowledges that Defendant
has discussed the terms of the Plea Agreement with Defendant's attomey and understands

and acceps those terms. Further, Defendant acknowledges that this Plea Agreement, in

conjunction with the Plea Supplement filed contemporaneously under seal, contains the

only terms of the agreement conceming Defendant's plea of guilty in this case, and that

there are no other deals, bargains, agreements, or understandings which modify or alter

these terms.




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       Dated this Q! day of           Odob'/              ,2024


                                                          ROBERT J. TROESTER
APPROVED:                                                 United States Attomey

                       Olq Ia lv siqnEd by JESSICA
                                -
JESSICA PERRY Penni
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JESSICA PERRY
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 €,F                                                                    ,A+
LANDON KYLE SWINFORD                                       J.P,
Defendant                                                          for Defendant




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